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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA,                   CASE NO. 12CR5:290-CAB

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
MARIA ELENA FLORES (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Indictment/Information:

    Tit    8, U.S.C., Secs. 1324 (a) (1) (A) (iv) and (v) (II) - Inducing and

    Encouraging Illegal Aliens to Enter the US and Aiding and abetting.

          IT IS THEREFORE ADJUDGED                            ant is hereby discharged.


DATED: MARCH 8, 2013
                                            Cathy Ann Bencivengo
                                            U.S. Dist ct Judge
